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 8
 9                            UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11     PAUL BELL individually and on behalf of all        Case No. 2:21-cv-09454
       others similarly situated,
12
                          Plaintiff,                      CLASS ACTION COMPLAINT
13
14                            v.                          DEMAND FOR JURY TRIAL

15     GLAXOSMITHKLINE CONSUMER
       HEALTHCARE HOLDINGS (US) LLC,
16     GSK CONSUMER HEALTH, INC., and
17     PFIZER, INC.

18                        Defendants.
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 6                      labeled “Non-Drowsy.”........................................................................................... 3
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 1   I.     Introduction.
 2          1.      Defendants make, sell, and market “Robitussin” over-the-counter cough
 3   medicine. Several Robitussin products contain the active ingredient Dextromethorphan
 4   Hydrobromide (“DXM”). At least 16 Robitussin products containing DXM prominently state on
 5   the front of their label that they are “Non-Drowsy.” 1
 6          2.      By prominently labeling these products as “Non-Drowsy,” Defendants led
 7   Plaintiff and other consumers to believe that the Non-Drowsy Robitussin Products do not cause
 8   drowsiness, and that drowsiness is not a side effect of those products. But the truth is that
 9   products containing DXM—and thus the Non-Drowsy Robitussin Products—do cause
10   drowsiness, and that drowsiness is a known side-effect of DXM.
11          3.      In this way, Defendants misled Plaintiff and other consumers about the effects of
12   the Non-Drowsy Robitussin Products. This was a material misrepresentation that Plaintiff—and
13   other reasonable consumers—relied on when deciding to buy the products. Had Defendants
14   been truthful, Plaintiff and other consumers would not have purchased the products or would
15   have paid less for them.
16          4.      Plaintiff brings this case for himself and for millions of other consumers who
17   purchased Non-Drowsy Robitussin Products.
18   II.    Parties.
19          5.      Plaintiff Paul Bell is a citizen of California (domiciled in Los Angeles). In 2021,
20   he bought a bottle of Robitussin Cough + Chest Congestion DM (a Non-Drowsy Robitussin
21   Product) at a Walgreens in Los Angeles. When buying the product, Mr. Bell saw and relied on
22   Defendants’ promise that it was “Non-Drowsy.” But when Mr. Bell took the medication, he
23   became unexpectedly drowsy at work. Mr. Bell would not have bought the product had he
24   known that the product did, in fact, cause drowsiness, and that drowsiness was a known side-
25   effect of the product.
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28             Throughout this Complaint, Robitussin products containing DXM that state on their
     label that they are “Non-Drowsy” are called “Non-Drowsy Robitussin Products.”
                                                    1
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 1           6.       To be sure, Plaintiff would purchase Non-Drowsy Robitussin Products again if
 2   they were actually “Non-Drowsy” (i.e., if the product was sold as advertised). Plaintiff,
 3   however, faces an imminent threat of harm because he will not be able to rely on the labels in the
 4   future, and thus will not be able to purchase the products.
 5           7.       The proposed class (identified below) includes citizens of every state within the
 6   United States.
 7           8.       Defendant GlaxoSmithKline Consumer Healthcare Holdings (US) LLC is a
 8   Delaware corporation with its principal place of business in Warren, New Jersey, and has been
 9   doing business in the State of California during all relevant times. Directly and through its
10   agents, GlaxoSmithKline Consumer Healthcare Holdings (US) LLC has substantial contacts
11   with, and receives substantial benefits and income from, the State of California.
12           9.       Defendant GSK Consumer Health, Inc. is a Delaware corporation with its
13   principal place of business in Warren, New Jersey, and has been doing business in the State of
14   California during all relevant times. Directly and through its agents, GSK Consumer Health, Inc.
15   has substantial contacts with, and receives substantial benefits and income from, the State of
16   California. 2
17           10.      Defendant Pfizer, Inc. is a Delaware corporation with its principal place of
18   business in New York, New York, and has been doing business in the State of California during
19   all relevant times. Directly and through its agents, Pfizer has substantial contacts with, and
20   receives substantial benefits and income from, the State of California.
21   III.    Jurisdiction and Venue.
22           11.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2). The
23   amount in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs,
24   and the matter is a class action in which one or more members of the proposed class are citizens
25   of a state different from the Defendants.
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27           2
             This Complaint uses “GSK” to refer collectively to GlaxoSmithKline Consumer
28   Healthcare Holdings (US) LLC and GSK Consumer Health, Inc.

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 1          12.      The Court has personal jurisdiction over Defendants because they sold the Non-
 2   Drowsy Robitussin Products to consumers in California, including Plaintiff.
 3          13.      Venue is proper under 28 U.S.C. § 1391(b)(1) and 28 U.S.C. § 1391(d) because
 4   Defendants would be subject to personal jurisdiction in this District if this District were a
 5   separate state, given that Defendants sold the Non-Drowsy Robitussin Products to consumers in
 6   this District, including Mr. Bell. Venue is also proper under 28 U.S.C. § 1391(b)(2) because a
 7   substantial part of Defendants’ conduct giving rise to the claims occurred in this District,
 8   including selling the Non-Drowsy Robitussin Products to Mr. Bell.
 9   IV.    Facts.
10          A.       Defendants make, market, and sell Robitussin products prominently
11                   labeled “Non-Drowsy.”
12          14.      GSK manufactures, distributes, markets, and sells the Non-Drowsy Robitussin
13   Products, and has done so since mid-2019. Prior to that, Pfizer manufactured, distributed,
14   marketed, and sold the Non-Drowsy Robitussin Products.
15          15.      According to Pfizer’s filings in other cases, Pfizer “no longer owns the rights to
16   the Products, and any potential liability it may have had for the Products has been transferred to
17   GSK pursuant to a Stock and Asset Purchase Agreement.” Defendants’ Answer to Plaintiff’s
18   First Amended Class Action Complaint at 1-2, Moore v. GlaxoSmithKline Consumer Healthcare
19   Holdings (US) LLC, 4:20-cv-09077-JSW (N.D. Cal. Aug. 20, 2021). If this representation is
20   true, GSK is responsible, and liable for, the distribution, marketing, and sale of the Non-Drowsy
21   Robitussin Products at all relevant times. 3
22          16.      In the alternative, GSK is responsible, and liable for, the distribution, marketing,
23   and sale of the Non-Drowsy Robitussin Products since mid-2019, and Pfizer is responsible, and
24   liable for, such distribution, marketing, and sale beforehand.
25          17.      The Non-Drowsy Robitussin Products that Defendants distributed, marketed, and
26   sold, and continue to distribute, market, and sell, include: Robitussin Honey Cough + Chest
27
            3
28            If GSK stipulates that it will assume all liability for the accused acts throughout the
     relevant timeframe, Plaintiff is willing to dismiss Pfizer from the case.
                                                       3
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 1   Congestion DM; Robitussin Maximum Strength DM Day/Night Pack; Robitussin Maximum
 2   Strength DM Day/Night Pack; Robitussin Maximum Strength Severe Multi-Symptom Cough
 3   Cold + Flu; Robitussin Maximum Strength Severe Multi-Symptom Cough Cold + Flue Pack;
 4   Robitussin Maximum Strength Sever Cough + Sore Throat; Robitussin Maximum Strength
 5   Cough & Chest Congestion DM Capsules; Robitussin Cough + Congestion DM; Robitussin
 6   Sugar Free Cough + Chest Congestion DM; Robitussin Multi-Symptom Cold CF; Robitussin
 7   Long-Acting CoughGels; Robitussin Maximum Strength Honey Severe Cough, Flu + Sore
 8   Throat, Robitussin Children’s Cough & Chest Congestion DM; Robitussin Children’s Cough &
 9   Cold CF; Robitussin Children’s Honey Cough & Chest Congestion DM; and Robitussin
10   Children’s DM Day/Night Pack.
11         18.    The front label of each Non-Drowsy Robitussin Product prominently states that
12   the product is “Non-Drowsy.” For example:
13         Multi-Symptom Cough Cold + Flu 4
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28    https://www.robitussin.com/adult-robitussin/maximum-strength-severe-multi-symptom-cough-
     cold-flu/
                                                   4
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 1          Cough + Chest Congestion DM 5
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            Multi-Symptom Cold CF 6
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27   5
       https://www.robitussin.com/adult-robitussin/maximum-strength-cough-chest-congestion-dm-
28   liquid-filled-capsules/
     6
       https://www.robitussin.com/adult-robitussin/multi-symptom-cold-cf/
                                                    5
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 1            Children’s Cough & Chest Congestion DM 7
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              19.    These representations are materially the same across all Non-Drowsy Robitussin
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     Products.
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              20.    The Non-Drowsy Robitussin Products do not disclose anywhere on their
16
     packaging that they do or can cause drowsiness, or that drowsiness is a side effect of the Non-
17
     Drowsy Robitussin Products.
18
              21.    Based on the prominent “Non-Drowsy” label included on the face of each
19
     product, a reasonable consumer would believe that the products do not cause drowsiness. That
20
     is, a reasonable consumer would believe that drowsiness is not a side-effect of the product.
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              22.    Indeed, Defendants labeled the products this way because they intended
22
     consumers to rely on the labels and to believe that the products would not cause drowsiness, so
23
     that consumers would buy more products or pay more for them.
24
              B.     The Non-Drowsy Robitussin Products cause drowsiness.
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              23.    In truth, products containing DXM—like each of the Non-Drowsy Robitussin
26
     Products—do in fact cause drowsiness. Drowsiness is a documented side effect of DXM at the
27
28   7
         https://www.robitussin.com/childrens-robitussin/cough-chest-congestion-dm/
                                                      6
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 1   recommended dosages. 8 Authorities such as the Mayo Clinic 9 and the National Library of
 2   Medicine 10 list drowsiness as a side-effect of DXM.
 3          24.     Indeed, drowsiness is a relatively common (not rare) side effect. For example,
 4   one study found that “[s]omnolence is a common side effect of centrally acting antitussive
 5   drugs” containing dextromethorphan, and that 10.4% of users of products containing
 6   dextromethorphan develop drowsiness within three days of starting treatment with DXM cough
 7   medicine. 11 The patients in this clinical study were given an even smaller dosage of DXM than
 8   the recommended dose found in many Robitussin products. 12 Furthermore, the FDA’s adverse
 9   event report database confirms that sedation (i.e., drowsiness) was the fourth most frequently
10   cited side-effect of dextromethorphan-containing products. 13
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       For example, Robitussin Cough + Chest Congestion DM contains 20 mg of DXM per 10 ml of
20   syrup and the recommended dosage is 10 ml orally every 4 hours.
     https://www.robitussin.com/adult-robitussin/cough-chest-congestion-dm/
21   9
       https://www.mayoclinic.org/drugs-supplements/dextromethorphan-oral-route/side-effects/drg-
22   20068661?p=1 (last accessed November 22, 2021).
     10
        Dextromethorphan: MedlinePlus Drug Information, National Library of Medicine,
23   https://medlineplus.gov/druginfo/meds/a682492.html (last accessed November 22, 2021).
     11
        The study reports this side effect as “somnolence.” Somnolence means “the quality or state of
24   being drowsy.” Merriam Webster Dictionary, https://www.merriam-
25   webster.com/dictionary/somnolence (last accessed November 22, 2021).
     12
        E. Catena and L. Daffonchio, “Efficacy and Tolerability of Levodropropizine in Adult Patients
26   with Non-productive Cough, Comparison with Dextromethorphan,” 10 Pulmonary
     Pharmacology & Therapeutics 89-96 (1997).
27   13
        Drowsiness is equivalent to minimal sedation. See
28   https://www.medicinenet.com/sedation_vs_general_anesthesia/article.html

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 1           25.    For this reason, the Federal Aviation Administration prohibits pilots from flying
 2   for 48 hours after ingesting DXM: 14
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             C.      Defendants’ Non-Drowsy representations are misleading.
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11           26.    The Food and Drug Administration prohibits drug labeling that is “false or

12   misleading.” 21 C.F.R. § 201.6. It is misleading to label a product “Non-Drowsy” when it does

13   cause drowsiness, or if drowsiness is a known side effect of one of its active ingredients.

14           27.    Based on the fact that Defendants label the Non-Drowsy Robitussin Products as

15   “Non-Drowsy,” a reasonable consumer would expect that those products do not cause

16   drowsiness. Similarly, a reasonable consumer would expect that drowsiness is not a side effect

17   of the products. Indeed, according to Consumer Reports, “‘Non-drowsy’ is code for

18   antihistamines and other medications that don’t make you sleepy.” 15

19           28.    Robitussin’s advertisements and labeling do not contain any language that a

20   reasonable consumer would understand to qualify these representations, or that would otherwise

21   put a reasonable consumer on notice of the fact that the Non-Drowsy Robitussin Products

22   actually cause drowsiness.

23           29.    Unlike Defendants, some other drug makers do not falsely claim that DXM-

24   products are non-drowsy. For example, DXM is an active ingredient in Mucinex DM, sold by

25   Reckitt. But the Mucinex label does not claim that Mucinex DM is non-drowsy, because this is

26
     14
       https://www.faa.gov/licenses_certificates/medical_certification/media/OTCMedicationsforPilots.pdf
27   15
       “How to read over the counter (OTC) drug labels,” Consumer Reports,
28   https://www.consumerreports.org/cro/2014/04/how-to-read-over-the-counter-drug-labels/index.htm

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 1   not the truth:
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12           30.      Defendants could have simply omitted the false and misleading statement, “Non-
13   Drowsy,” from their products.
14           31.      Or, if Defendants wanted to say something to indicate that a Non-Drowsy
15   Robitussin Product might cause less drowsiness than another Robitussin product, they could
16   have made a truthful statement to this effect, as other drug makers do.
17           32.      For example, Dramamine contains an active ingredient that causes drowsiness,
18   Dimenhydrinate. Dramamine also sells a “less drowsy” version that contains a different active
19   ingredient, Meclizine, which causes less drowsiness. The front label of Dramamine Less
20   Drowsy prominently displays that it is “less drowsy”:
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13          33.     Whether or not an over-the-counter drug causes drowsiness is material to a
14   reasonable customer. In certain situations, consumers prefer over-the-counter drugs that will not
15   make them drowsy to products that may make them drowsy. For example, all else equal, a
16   reasonable consumer would prefer to take a drug that does not cause drowsiness to one that does
17   cause drowsiness during the day (or any periods of time when they plan to be awake). As a
18   second example, if a consumer is planning to engage in activities that require them to be alert, or
19   during which they would prefer to be alert, that consumer would prefer to take a drug that does
20   not cause drowsiness to one that does. Indeed, in many situations, taking a drug that does or can
21   cause drowsiness can be dangerous. For example, taking a drug that causes drowsiness while
22   driving, or flying a plane, is dangerous.
23          D.      Class Action Allegations.
24          34.     Plaintiff brings the asserted claims on behalf of the proposed class of: all persons
25   who purchased a Non-Drowsy Robitussin Product in the United States during the applicable
26   statute of limitations (the “Nationwide Class”).
27          35.     For certain claims, Plaintiff bring those claims on behalf of a subclass of
28   consumers who live in certain identified states (the “Consumer Protection Subclass”).
                                                     10
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 1          36.       For certain claims, in the alternative, Plaintiff bring those claims on behalf a
 2   subclass of consumers who, like Plaintiff, purchased Non-Drowsy Robitussin Products in
 3   California (the “California Subclass”).
 4          37.       The following people are excluded from the Class and the Subclasses: (1) any
 5   Judge or Magistrate Judge presiding over this action and the members of their family; (2)
 6   Defendants, Defendants’ subsidiaries, parents, successors, predecessors, and any entity in which
 7   the Defendants or its parents have a controlling interest and their current employees, officers and
 8   directors; (3) persons who properly execute and file a timely request for exclusion from the
 9   Class; (4) persons whose claims in this matter have been finally adjudicated on the merits or
10   otherwise released; (5) Plaintiff’s counsel and Defendants’ counsel, and their experts and
11   consultants; and (6) the legal representatives, successors, and assigns of any such excluded
12   persons.
13          Numerosity
14          38.        The proposed class contains members so numerous that separate joinder of each
15   member of the class is impractical. There are millions of proposed class members.
16          Commonality
17          39.        There are questions of law and fact common to the proposed class. Common
18   questions of law and fact include, without limitation:
19                   Whether the Non-Drowsy Robitussin Products cause drowsiness;
20                   Whether Defendants’ labelling of the Non-Drowsy Robitussin Products as “non-
21                    drowsy” is deceptive and misleading;
22                   Whether Defendants violated state consumer protection statutes;
23                   Whether Defendants committed a breach of express warranty; and,
24                   Damages needed to reasonably compensate Plaintiff and the proposed class
25          Typicality
26          40.       Plaintiff’s claims are typical of the proposed class. Like the proposed class,
27   Plaintiff purchased Non-Drowsy Robitussin Products. Like the proposed class, Plaintiff would
28   not have purchased the products, or would have paid less for them, had he known that they cause

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 1   drowsiness.
 2            Predominance and Superiority
 3            41.    The prosecution of separate actions by individual members of the proposed class
 4   would create a risk of inconsistent or varying adjudication with respect to individual members,
 5   which would establish incompatible standards for the parties opposing the class. For example,
 6   individual adjudication would create a risk that breach of the same express warranty is found for
 7   some proposed class members, but not others.
 8            42.    Common questions of law and fact predominate over any questions affecting
 9   only individual members of the proposed class. These common legal and factual questions arise
10   from certain central issues which do not vary from class member to class member, and which
11   may be determined without reference to the individual circumstances of any particular class
12   member. For example, a core liability question is common: whether Defendants breached an
13   express warranty by falsely marketing products that cause drowsiness as “Non-Drowsy.”
14            43.    A class action is superior to all other available methods for the fair and efficient
15   adjudication of this litigation because individual litigation of each claim is impractical. It would
16   be unduly burdensome to have individual litigation of millions of individual claims in separate
17   lawsuits, every one of which would present the issues presented in this lawsuit.
18   V.       Causes of Action
19                                    Count I: Breach of Express Warranty
20                                (on behalf of Plaintiff and a Nationwide Class)
21            44.   Plaintiff incorporates by reference each and every factual allegation set forth
22   above.
23            45.   Plaintiff brings this cause of action on behalf of themselves and the Nationwide
24   Class.
25            46.   Defendants, as the designers, manufacturers, marketers, distributors, and/or sellers
26   of the Non-Drowsy Robitussin Products, issued written warranties by representing that the
27   products were “Non-Drowsy.” This was an affirmation of fact about the products (i.e., a
28   description of the effects) and a promise relating to the goods.

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 1            47.    This warranty was part of the basis of the bargain and Plaintiff and members of
 2   the Nationwide Class relied on this warranty.
 3            48.    In fact, the Non-Drowsy Robitussin Products do not conform to the above-
 4   referenced representation because they cause drowsiness and thus the warranty was breached.
 5            49.    Plaintiff and members of the Nationwide Class were injured as a direct and
 6   proximate result of Defendants’ breach because (a) they would not have purchased Non-Drowsy
 7   Robitussin Products if they had known that they cause drowsiness, and/or (b) they overpaid for
 8   the products because they are sold at a price premium due to the misrepresentation.
 9                           Count II: Violations of State Consumer Protection Acts
10                        (on behalf of Plaintiff and the Consumer Protection Subclass)
11            50.    Plaintiff incorporates by reference each and every factual allegation set forth
12   above.
13            51.    This count is brought on behalf of Plaintiff and the Consumer Protection Subclass
14   for violations of the following state consumer protection statutes:
15                       State                                      Statute
16                      Arizona              Ariz. Rev. Stat. §§ 44-1521, and the following.
17                     Arkansas              Ark. Code § 4-88-101, and the following.
18                     California            Cal. Bus. & Prof. Code § 17200, and the
19                                           following; Id. §17500, and the following
20                                           Cal. Civ. Code §1750 and the following;
21                     Colorado              Colo. Rev. Stat. Ann. § 6-1-101, and the following.
22                    Connecticut            Conn. Gen Stat. Ann. § 42- 110, and the following.
23                     Delaware              6 Del. Code § 2513, and the following.
24                  Washington, D.C.         D.C. Code § 28-3901, and the following.
25                      Georgia              Ga. Code Ann. § 10-1-390, and the following.
26                      Hawaii               Haw. Rev. Stat. § 480-2, and the following.
27                       Idaho               Idaho Code. Ann. § 48-601, and the following.
28                      Illinois             815 ILCS § 501/1, and the following.
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 1                   Kansas         Kan. Stat. Ann. § 50-623, and the following.
 2                  Louisiana       LSA-R.S. § 51:1401, and the following.
 3                    Maine         Me. Rev. Stat. Ann. Tit. 5, § 207, and the
 4                                  following.
 5                  Maryland        Md. Code Ann. Com. Law, § 13-301, and the
 6                                  following.
 7                Massachusetts     Mass. Gen Laws Ann. Ch. 93A, and the following.
 8                  Michigan        Mich. Comp. Laws Ann. § 445.901, and the
 9                                  following.
10                  Minnesota       Minn. Stat. § 325F, and the following.
11                  Montana         Mont. Code Ann. §§ 30-14-101, and the following.
12                  Missouri        Mo. Rev. Stat. § 407, and the following.
13                  Nebraska        Neb. Rev. St. § 59-1601, and the following.
14                   Nevada         Nev. Rev. Stat. § 41.600, and the following.
15               New Hampshire      N.H. Rev. Stat. § 358-A:1, and the following.
16                 New Jersey       N.J. Stat. Ann. § 56:8, and the following.
17
                   New Mexico       N.M. Stat. Ann. § 57-12-1, and the following.
18
                    New York        N.Y. Gen. Bus. Law § 349, and the following.
19
                  North Carolina    N.C. Gen Stat. § 75-1.1, and the following.
20
                  North Dakota      N.D. Cent. Code § 51-15, and the following.
21
                      Ohio          Ohio Rev. Code Ann. § 1345.01, and the
22
                                    following.
23
                    Oklahoma        Okla. Stat. tit. 15 § 751, and the following.
24
                     Oregon         Or. Rev. Stat. § 646.605, and the following.
25
                  Pennsylvania      73 P.S. § 201-1, and the following.
26
                  Rhode Island      R.I. Gen. Laws § 6-13.1- 5.2(B), and the
27
                                    following.
28

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 1                 South Carolina            S.C. Code Ann. § 39-5-10, and the following.
 2                  South Dakota             S.D. Codified Laws § 37-24-1, and the following.
 3                    Tennessee              Tenn. Code Ann. § 47-18-101, and the following.
 4                      Texas                Tex. Code Ann., Bus. & Con. § 17.41, and the
 5                                           following.
 6                       Utah                Utah Code. Ann. § 13-11-175, and the following.
 7                     Vermont               9 V.S.A. § 2451, and the following.
 8                     Virginia              Va. Code Ann. § 59.1-199, and the following.
 9                   Washington              Wash. Rev. Code § 19.86.010, and the following.
10                  West Virginia            W. Va. Code § 46A, and the following.
11                    Wisconsin              Wis. Stat. § 100.18, and the following
12                    Wyoming                Wyo. Stat. Ann. § 40-12-101, and the following.
13          52.     Each of these consumer protection statutes prohibits unfair, unconscionable,
14   and/or deceptive acts or practices in the course of trade or commerce or in connection with the
15   sales of goods or services to consumers. Defendants’ conduct, including the false labelling of
16   the Non-Drowsy Robitussin Products and sale of those misleading products to Plaintiff and Class
17   members, violates each statute’s prohibitions.
18          53.     Defendants’ misrepresentations were a substantial factor in Plaintiff’s purchase
19   decision and the purchase decision of Class members. Defendants’ misrepresentations were
20   misleading to a reasonable consumer, and Plaintiff and Class members reasonably relied on
21   Defendants’ misrepresentations.
22          54.     Defendants intended that Plaintiff and the proposed Class members would rely on
23   their materially deceptive representations. Defendants were also aware of the side effects of
24   DXM and thus knew that their representations were false and were likely to mislead consumers.
25          55.     For applicable statutes, Plaintiff is providing written notice and a demand for
26   correction, as described in Count IV. Upon the expiration of any governing statutory notice
27   period, Plaintiff and the Class seek all available injunctive or monetary relief.
28          56.     Plaintiff and Class members were injured as a direct and proximate result of
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 1   Defendants’ conduct because (a) they would not have purchased Non-Drowsy Robitussin
 2   Products if they had known that they cause drowsiness, and/or (b) they overpaid for the products
 3   because they are sold at a price premium due to the misrepresentation. In this way, Plaintiff and
 4   the proposed Class members have suffered an ascertainable loss, in an amount to be determined
 5   at trial.
 6                       Count III: Violation of California Unfair Competition Law (UCL)
 7                               (on behalf of Plaintiff and the California Subclass)
 8               57.   Plaintiff incorporates by reference and re-alleges each and every factual allegation
 9   set forth above as though fully set forth herein.
10               58.   As alleged in Count II, state consumer protection laws are sufficiently similar
11   such that Plaintiff may bring a claim on behalf of the Consumer Protection Subclass. In the
12   alternative, Plaintiff brings this cause of action on behalf of himself and members of the
13   California Subclass.
14               59.   Defendants have violated California’s Unfair Competition Law (UCL) by
15   engaging in unlawful, fraudulent, and unfair conduct (i.e., violating each of the three prongs of
16   the UCL).
17               The Unlawful Prong
18               60.   Defendants engaged in unlawful conduct by violating the CLRA and FAL, as
19   alleged above and incorporated here.
20               The Fraudulent Prong
21               61.   Defendants’ misrepresentations were likely to deceive, and did deceive, Plaintiff
22   and reasonable consumers.
23               The Unfair Prong
24               62.   Defendants violated established public policy by violating the CLRA and FAL, as
25   alleged above and incorporated here. The unfairness of this practice is tethered to a legislatively
26   declared policy (that of the CLRA and FAL).
27               63.   The harm to Plaintiff and the Class greatly outweighs the public utility of
28   Defendants’ conduct. There is no public utility to misrepresenting the side effects of an over-

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 1   the-counter medication. This injury was not outweighed by any countervailing benefits to
 2   consumers or competition. Misleading medication labels only injure healthy competition and
 3   harm consumers.
 4          64.     Plaintiff and the Class could not have reasonably avoided this injury. As alleged
 5   above, Defendants’ representations were deceiving to reasonable consumers like Plaintiff.
 6                                                       * * *
 7          65.     For all prongs, Defendants’ misrepresentations were intended to induce reliance,
 8   and Plaintiff saw, read and reasonably relied on them when purchasing Non-Drowsy Robitussin
 9   Products. Defendants’ misrepresentations were a substantial factor in Plaintiff’s purchase
10   decision.
11          66.     In addition, reliance can be inferred because Defendants’ misrepresentations were
12   material, i.e., a reasonable consumer would consider them important in deciding whether to buy
13   the Non-Drowsy Robitussin Products.
14          67.     Plaintiff and Class members were injured as a direct and proximate result of
15   Defendants’ conduct because (a) they would not have purchased Non-Drowsy Robitussin
16   Products if they had known that they cause drowsiness, and/or (b) they overpaid for the products
17   because they are sold at a price premium due to the misrepresentation.
18                   Count IV: Violation of the California’s False Advertising Law (FAL)
19                             (on behalf of Plaintiff and the California Subclass)
20          68.     Plaintiff incorporates by reference and re-alleges each and every allegation set
21   forth above as though fully set forth herein.
22          69.     Plaintiff brings this cause of action on behalf of himself and members of the
23   California Subclass.
24          70.     As alleged more fully above, Defendants have falsely advertised Non-Drowsy
25   Robitussin Products by falsely representing that the products do not cause drowsiness and that
26   drowsiness is not a side-effect of the products.
27          71.     Defendants’ representations were likely to deceive, and did deceive, Plaintiff and
28   reasonable consumers. Defendants knew, or should have known through the exercise of

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 1   reasonable care, that these statements were inaccurate and misleading.
 2          72.     Defendants’ misrepresentations were intended to induce reliance, and Plaintiff
 3   saw, read and reasonably relied on them when purchasing Non-Drowsy Robitussin Products.
 4   Defendants’ misrepresentations were a substantial factor in Plaintiff’s purchase decision.
 5          73.     In addition, reliance can be inferred because Defendants’ misrepresentations were
 6   material, i.e., a reasonable consumer would consider them important in deciding whether to buy
 7   the Non-Drowsy Robitussin Products.
 8          74.     Defendants’ misrepresentations were a substantial factor and proximate cause in
 9   causing damages and losses to Plaintiff.
10          75.     Plaintiff and Class members were injured as a direct and proximate result of
11   Defendants’ conduct because (a) they would not have purchased Non-Drowsy Robitussin
12   Products if they had known that they cause drowsiness, and/or (b) they overpaid for the products
13   because they are sold at a price premium due to the misrepresentation.
14                Count V: Violation of the California Consumer Legal Remedies Act (CLRA)
15                             (on behalf of Plaintiff and the California Subclass)
16          76.     Plaintiff incorporates by reference and re-alleges each and every allegation set
17   forth above as though fully set forth herein.
18          77.     Plaintiff brings this cause of action on behalf of himself and members of the
19   California Subclass.
20          78.     Plaintiff and the other members of the California Subclass are “consumers,” as the
21   term is defined by California Civil Code § 1761(d).
22          79.     Plaintiff, the other members of the California Subclass, and Defendants have
23   engaged in “transactions,” as that term is defined by California Civil Code § 1761(e).
24          80.     The conduct alleged in this Complaint constitutes unfair methods of competition
25   and unfair and deceptive acts and practices for the purpose of the CLRA, and the conduct was
26   undertaken by Defendants in transactions intended to result in, and which did result in, the sale
27   of goods to consumers.
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 1          81.     As alleged more fully above, Defendants have violated the CLRA by falsely
 2   representing to Plaintiff and the other members of the California Subclass that the Non-Drowsy
 3   Robitussin Products do not cause drowsiness, and that drowsiness is not a side effect of the
 4   products, when in fact, the products do cause drowsiness.
 5          82.     As a result of engaging in such conduct, Defendants have violated California
 6   Civil Code § 1770(a)(5), (a)(7), and (a)(9).
 7          83.     Defendants’ representations were likely to deceive, and did deceive, Plaintiff and
 8   reasonable consumers. Defendants knew, or should have known through the exercise of
 9   reasonable care, that these statements were inaccurate and misleading.
10          84.     Defendants’ misrepresentations were intended to induce reliance, and Plaintiff
11   saw, read and reasonably relied on them when purchasing Non-Drowsy Robitussin Products.
12   Defendants’ misrepresentations were a substantial factor in Plaintiff’s purchase decision.
13          85.     In addition, reliance can be inferred because Defendants’ misrepresentations were
14   material, i.e., a reasonable consumer would consider them important in deciding whether to buy
15   the Non-Drowsy Robitussin Products.
16          86.     Defendants’ misrepresentations were a substantial factor and proximate cause in
17   causing damages and losses to Plaintiff.
18          87.     Plaintiff and Class members were injured as a direct and proximate result of
19   Defendants’ conduct because (a) they would not have purchased Non-Drowsy Robitussin
20   Products if they had known that they cause drowsiness, and/or (b) they overpaid for the products
21   because they are sold at a price premium due to the misrepresentation.
22          88.     Accordingly, pursuant to California Civil Code § 1780(a)(3), Plaintiff, on behalf
23   of himself and all other members of the California Subclass, seeks injunctive relief.
24          89.     CLRA § 1782 NOTICE. On December 7, 2021, a CLRA demand letter will be
25   sent to Defendants via certified mail (return receipt requested) that provides notice of
26   Defendants’ violation of the CLRA and demands that within thirty (30) days from that date,
27   Defendants correct the unlawful, unfair, false and/or deceptive practices alleged here. If
28   Defendants do not fully correct the problem for Plaintiff and for each member of the California

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 1   subclass by that date, Plaintiff and the California subclass seek all monetary relief allowed under
 2   the CLRA.
 3   VI.      Jury Demand.
 4            90.    Plaintiff demands a jury trial on all issues so triable.
 5   VII.     Prayer for Relief.
 6            91.    Plaintiff seeks the following relief for himself and the proposed class and
 7   subclasses:
 8                      An order certifying the asserted claims, or issues raised, as a class action;
 9                      A judgment in favor of Plaintiff and the proposed class;
10                      Damages, including statutory, treble, and punitive damages where applicable;
11                      Restitution;
12                      Disgorgement, and other just equitable relief;
13                      Pre- and post-judgment interest;
14                      An injunction prohibiting Defendants’ deceptive conduct, as allowed by law;
15                      Reasonable attorneys’ fees and costs, as allowed by law;
16                      Any additional relief that the Court deems reasonable and just.
17
18   Dated: December 6, 2021                                 Respectfully submitted,
19                                                           By: /s/ Jonas B. Jacobson
20
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